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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 STANDING ROCK SIOUX TRIBE; YANKTON
 SIOUX TRIBE; ROBERT FLYING HAWK;
 OGLALA SIOUX TRIBE,
                 Plaintiffs,
    and
 CHEYENNE RIVER SIOUX TRIBE; SARA
 JUMPING EAGLE ET AL.,
                 Plaintiff-Intervenors,
                                                     Case No. 1:16-cv-1534-JEB
            v.                                       (and Consolidated Case Nos. 16-cv-
 U.S. ARMY CORPS OF ENGINEERS,                       1796 and 17-cv-267)

                  Defendant-Cross Defendant,
    and
 DAKOTA ACCESS, LLC,
                 Defendant-Intervenor-Cross
                 Claimant.



                                CIVIL NOTICE OF APPEAL

       Notice is hereby given this 6th day of July 2020, that Defendant-Intervenor-Cross

Claimant Dakota Access, LLC hereby appeals to the United States Court of Appeals for the District

of Columbia Circuit from this Court’s March 25, 2020 Opinion and Order, D.E. 495 & 496, its

July 6, 2020 Opinion and Order, D.E. 545 & 546, and its June 14, 2017 Opinion and Order, D.E.

238 & 239, granting inter alia partial summary judgment in favor of Plaintiffs against Defendants.
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Dated: July 6, 2020                By: /s/ William S. Scherman
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                                CERTIFICATE OF SERVICE

       I certify that on July 6, 2020, the foregoing document was filed via the Court’s CM/ECF

system and served upon ECF-registered counsel for all parties to this proceeding.

                                                /s/ William S. Scherman
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